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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA



  UNITED STATES OF AMERICA,

                         Plaintiff,

  v.                                                    CASE NO. 21-20218-CR-SINGHAL


  PEDRO ARTURO CASAS ESPINOSA,
                    Defendant.
  _______________________________/


                    UNOPPOSED MOTION TO CONTINUE SENTENCING

         COMES NOW, undersigned counsel for Defendant PEDRO ARTURO CASAS

  ESPINOSA and files this Unopposed Motion to Continue Sentencing and would furthermore state

  as follows:

         1.      Sentencing in this matter is scheduled for June 1, 2022 at 11:00 a.m.

         2.      The PSI was received on May 16, 2022. It is 33 pages. The undersigned will need

  to see his client at a Broward County Jail facility with an interpreter. One of the issues which will

  be addressed in the Defendant’s response is the operability and usefulness of a firearm found in

  Defendant’s residence when he was arrested. The PSI reflects an enhancement for a firearm and

  a denial of the safety valve, obviously critical to a determination of an appropriate sentence in this

  matter. The undersigned has requested to view and analyze the firearm seized.

         3.      The prosecutor is on annual leave until June 1 which could make it difficult to

  arrange for the inspection. Mr. McLaughlin has indicated that he has started the process of making

  the arrangements regarding the inspection.




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         4.      The undersigned is leaving the District on May 25, 2022, to attend a wedding out

  of State. The undersigned is returning late on the 31st of May.

         5.      Given what needs to be done in order to be fully prepared for the Sentencing, the

  undersigned is requesting additional time for preparation. Accordingly, the undersigned would be

  requesting a continuance of the Sentencing, which the Government does not oppose.



         WHEREFORE, the undersigned respectfully requests that this Honorable Court grant the

  foregoing motion.



                                                       Respectfully submitted,
                                                       By:   /s/ Albert Z. Levin, Esq.




                                  CERTIFICATE OF SERVICE

         I hereby certify that on May 17, 2022 I electronically filed the foregoing document with

  the Clerk of Court using CM/ECF. I also certify that the foregoing document is being served this

  day on all counsel of record via transmission of Notices of Electronic Filing generated by CM/ECF.

                                                       Respectfully submitted,
                                                       By:   /s/ Albert Z. Levin, Esq.
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